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                                                                        UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                          IN RE: LITHIUM ION BATTERIES                    Case No.: 13-MD-2420 YGR
                                   9      ANTITRUST LITIGATION
                                                                                          ORDER SETTING STATUS CONFERENCE
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                                          This Order Relates to:
                                          All Direct and Indirect Purchaser
Northern District of California




                                  12
 United States District Court




                                          Actions
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                                              The Court hereby SETS a status conference for Friday, October 2, 2015 at 9:30 a.m. A
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                                       joint status conference statement is due five business days before the conference. To minimize
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                                       costs, Liason Counsel shall arrange a dial-in teleconference to permit counsel who do not attend in
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                                       person to listen to the proceedings. However, only counsel who attend in person will be permitted
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                                       to participate during the conference. Liason Counsel shall email the dial-in and passcode
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                                       information to Courtroom Deputy Frances Stone at ygrcrd@cand.uscourts.gov, and provide the
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                                       number to counsel for the parties, in advance of the conference.
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                                              In addition, the Court has been receiving in camera quarterly submissions regarding the
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                                       status of attorney’s fees incurred by plaintiffs. (See Dkt. No. 375.) Following the status
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                                       conference, the Court shall hold an ex parte conference with plaintiffs’ counsel to discuss the fee
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                                       statements. That conference will not be accessible telephonically.
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                                              IT IS SO ORDERED.
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                                       Dated: August 26, 2015                           _______________________________________
                                  27                                                            YVONNE GONZALEZ ROGERS
                                                                                           UNITED STATES DISTRICT COURT JUDGE
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